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                                   STATEMENT OF FACTS

         Your affiant is a Special Agent with the Federal Bureau of Investigation (“FBI”) assigned
to the Boston Division, in Boston, Massachusetts. I have been employed in this capacity since
October 27, 2019. I am currently assigned to the Domestic Terrorism squad of the FBI’s Boston
Division. As an FBI Agent, I am responsible for the investigation of federal criminal offenses. I
have participated in various investigations involving national security matters. I routinely work
with agents, troopers, and officers with dozens of years of experience investigating crimes
involving organized criminal groups and terrorist organizations. Before being employed as an FBI
Agent, I served as a U.S. Customs and Border Protection Officer for over four years. I am assisting
in the investigation and prosecution of events that occurred at the U.S. Capitol on January 6, 2021.

       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is secured 24
hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and
temporary security barriers and posts manned by U.S. Capitol Police. Only authorized people with
appropriate identification are allowed access inside the U.S. Capitol.

       On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol. As
noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At approximately 2:00 p.m., certain individuals in the crowd forced their way through, up,
and over the barricades and officers of the U.S. Capitol Police, and the crowd advanced to the
exterior façade of the building. The crowd was not lawfully authorized to enter or remain in the
building and, prior to entering the building, no members of the crowd submitted to security
screenings or weapons checks by U.S. Capitol Police Officers or other authorized security
officials.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
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windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Pence, were instructed to—and did—evacuate the chambers. Accordingly, all proceedings of the
United States Congress, including the joint session, were effectively suspended until shortly after
8:00 p.m. the same day. In light of the dangerous circumstances caused by the unlawful entry to
the U.S. Capitol, including the danger posed by individuals who had entered the U.S. Capitol
without any security screening or weapons check, Congressional proceedings could not resume
until after every unauthorized occupant had left the U.S. Capitol, and the building had been
confirmed secured. The proceedings resumed at approximately 8:00 p.m. after the building had
been secured. Vice President Pence remained in the U.S. Capitol from the time he was evacuated
from the Senate Chamber until the session resumed.

        During national news coverage of the aforementioned events, video footage, which
appeared to be captured on mobile devices of persons present on the scene, depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

        Open source information revealed that an individual named Suzanne “Sue” Ianni
(“IANNI”) is actively involved with an organization called “Super Happy Fun America.” This
organization, on its own website at superhappyfunamerica.com, purports to be an advocate for the
“straight community,” bearing the motto, “It’s Great to be Straight.”

        Law enforcement identified a Twitter account connected to Super Happy Fun America. A
review of this account, located a post from December 29, 2020, stating that “SHFA will be in DC
once again on January 6th to get wild.” The account, thereafter, posted a picture on January 5,
2021, at 8:53 p.m. of IANNI on a bus with other individuals putting their thumbs up. The caption
reads, “Bus 1 of 11 coming to Washington DC. See you there!” From my review of publicly
available information, I know that IANNI is the woman on the left side of the picture, wearing a
blue sweater. I also know that an individual identified herein as “Known Person 1” is the man
wearing a grey shirt with a black and white collar standing next to IANNI in the photograph.
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        Open source information further uncovered that IANNI organized the buses for Super
Happy Fun America to transport individuals to Washington, D.C. for the January 6, 2021 event.
Specifically, IANNI spoke to a local news station and was interviewed for a public article stating
that she was the “lead organizer of the 11 buses that left Massachusetts on Tuesday for the ride to
Washington.” The article continues that “[a]bout 300 members of Super Happy Fun America
filled six of the buses.” Notably, in this article, IANNI declined to comment on whether she
entered the U.S. Capitol.

        As part of this investigation, law enforcement also located a Facebook post from account
“New England for Trump” from January 4, 2021, explaining that Super Happy Fun America was
sponsoring a road trip to Washington D.C. to arrive “prior to a Joint Session of Congress with state
electors on January 6th.” IANNI is listed as the contact person to sign up for the bus transportation,
and her phone number is provided on the post.

        Following the invasion of the Capitol, private individuals and the media began posting and
identifying people who were at the riot and entered the Capitol building. One such photograph
shows, who I know to be, IANNI and Known Person 1 standing together in the Capitol during the
invasion. The photograph appeared on a number of public forums as individuals worked
successfully to identify IANNI through other pictures and information.

        This identification was also reported in the MetroWest Daily News on January 11, 2021,
which placed Known Person 1 and IANNI in the below photo. Based on my training and personal
experience, I know this photo was taken inside the Capitol building based on the background and,
specifically the decorative elements on the walls behind IANNI. Based on my review of the
evidence and law enforcement data to include government photographs of IANNI, I can
corroborate MetroWest’s identification, locating IANNI pictured in the Capitol building in a blue
jacket with her fist raised in the photo below:
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       The article also identified Known Person 1 and IANNI together in a photograph outside
the Capitol, further confirming that the two individuals traveled through D.C. together.




       Based on the foregoing, your affiant submits that there is probable cause to believe that
IANNI violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or
remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
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